               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:08-cr-00128-MR-6


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
     vs.                         )             ORDER
                                 )
AARON CORNELIUS CORPENING,       )
                                 )
                   Defendant.    )
________________________________ )

        THIS MATTER is before the Court on the Defendant’s pro se letter,

received on January 27, 2017, which the Court construes as a motion. [Doc.

726].

        The Defendant was sentenced on July 23, 2009, to a term of 100

months’ imprisonment and three years of supervised release. [Doc. 254].

He was also ordered to pay court-appointed counsel fees. [Id. at 4]. On

December 7, 2015, the Defendant was charged with violating the terms of

his supervised release. [Doc. 691]. Attorney Dustin Dow was appointed to

represent the Defendant for the supervised release revocation proceedings.

[See Docket Entry dated March 9, 2016]. On April 19, 2016, the Court

revoked the Defendant’s supervised release and sentenced him to a term of

12 months’ imprisonment. [Doc. 715]. The Judgment states that in all other


   Case 1:08-cr-00128-MR-WCM    Document 728   Filed 03/01/17   Page 1 of 3
respects, the terms of the original Judgment [Doc. 254] remain in full force

and effect, including the order for payment of court-appointed counsel fees,

with there being a balance remaining in the amount of $3,745.58. [Id. at 3].

The Defendant did not appeal.

       In his present letter, the Defendant asks the Court to assist him in

contacting Mr. Dow so that the Defendant may file a motion to challenge the

imposition of court-appointed counsel fees. [Doc. 726].

       The Defendant’s request must be denied. Upon the conclusion of the

supervised release proceedings, Mr. Dow’s representation of the Defendant

came to an end. If the Defendant wishes to pursue any further action in this

case, he must do so by filing a motion pro se. The Defendant has no

constitutional right to the appointment of counsel to file post-conviction

motions. Lawrence v. Florida, 549 U.S. 327, 336-37 (2007) (citing Coleman

v. Thompson, 501 U.S. 722, 756-57 (1991)); Rouse v. Lee, 339 F.3d 238,

250 (4th Cir. 2003), cert. denied, 541 U.S. 905 (2004) (citing Pennsylvania v.

Finley, 481 U.S. 551, 555-56 (1987) (no constitutional right to counsel

beyond first appeal of right)).1


1 The Court may, in some circumstances, appoint counsel to represent a habeas
petitioner when the interests of justice so require and the petitioner is financially unable
to obtain representation. See 18 U.S.C. § 3006A(a)(2)(B). In the instant case, however,
the Defendant has failed to demonstrate that the interests of justice warrant the
appointment of counsel. See United States v. Riley, 21 F. App’x 139, 141-42 (4th Cir.
2001).


    Case 1:08-cr-00128-MR-WCM          Document 728      Filed 03/01/17    Page 2 of 3
     IT IS, THEREFORE, ORDERED that the Defendant’s letter [Doc. 726],

which the Court construes as a motion, is hereby DENIED.

     IT IS SO ORDERED.         Signed: March 1, 2017




   Case 1:08-cr-00128-MR-WCM   Document 728        Filed 03/01/17   Page 3 of 3
